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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

FAULCONER PRODUCTIONS
MUSIC CORPORATION

Plaintiff,

Vv. CIVIL ACTION NO. 4:03cv400
FUNIMATION PRODUCTIONS, INC.;
FUNIMATION PRODUCTIONS, LTD.;
FUNIMATION PRODUCTIONS
MANAGEMENT, LLC; THE
FUNIMATION MANAGEMENT
COMPANY, LLC; GEN FUKUNAGA;
DANIEL COCANOUGHER;; and
STEPHANIE GIOTES

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Defendants.

PLAINTIFF’S SECOND AMENDED COMPLAINT
TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Faulconer Productions Music Corporation files this, its Second Amended Complaint,
against Funimation Productions, Inc., Funimation Productions, LTD., Funimation Productions
Management, LLC, The Funimation Management Company, LLC (collectively referred to as
“Funimation”), Gen Fukunaga, Daniel Cocanougher, and Stephanie Giotes (all defendants are
collectively referred to as “Defendants’”) and in support thereof, would show the Court the

following:

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PARTIES

1.1.‘ Plaintiff, Faulconer Productions Music Corporation, is a Texas corporation doing
business in Collin County, Texas.

1.2 Defendant, Funimation Productions, Inc., is a Texas corporation with its principal
place of business at 6851 NE Loop 820, Suite 247, Fort Worth, Texas 76180, and is duly
authorized to do business in Texas. Defendant has appeared in this action.

1.3 Defendant, Funimation Productions, LTD, is a Texas Limited Partnership with its
principal place of business at 6851 NE Loop 820, Suite 247, Fort Worth, Texas 76180, and is
duly authorized to do business in Texas. Defendant has appeared in this action.

1.4 Defendant, Funimation Productions Management, LLC, is a Texas Limited
Liability Company with its principal place of business at 6851 NE Loop 820, Suite 247, Fort
Worth, Texas 76180, and is duly authorized to do business in Texas. Defendant has appeared in
this action.

1.5 Defendant, The Funimation Management Company, LLC, is a Texas Limited
Liability Company with its principal place of business at 6851 NE Loop 820, Suite 247, Fort
Worth, Texas 76180, and is duly authorized to do business in Texas. Defendant has appeared in
this action.

1.6 Defendant, Gen Fukunaga, is an individual who resides at 2048 Coventry Court,
Roanoke, Texas 76262-9005. Defendant has appeared in this action.

1.7. Defendant, Daniel Cocanougher, is an individual who resides at 216 South
Jackson Avenue, Justin, Texas 76247-9574. Defendant has appeared in this action.

1.8 Defendant, Stephanie Giotes, is an individual who resides at 4916 Arborgate

Drive, Arlington, Texas 76017. Defendant has appeared in this action.

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Il.
JURISDICTION AND VENUE

2.1‘ This is an action to recover money damages and for injunctive and other equitable
relief arising under the copyright laws of the United States and under contract and tort law. The
Court has original jurisdiction over the subject matter pursuant to 17 U.S.C. § 501 and 28 U.S.C.
§§ 1331 and 1338 (a) and (b). The Court has supplemental jurisdiction to hear Faulconer’s state
law claims under 28 U.S.C. § 1367 because the claims arise from the same operative facts as
Faulconer’s federal claims and form part of the same case and controversy under Article 3 of the
United States Constitution.

2.2 Venue is proper in this District under 28 U.S.C. §§ 1391(B) and 1400(a) because
a substantial part of the property that is the subject of this action is situated within this judicial
district.

HI.
SUMMARY OF THE DISPUTE

3.1. This action arises out of Defendants’ greed and calculated deceit and betrayal of
award winning composer Bruce Faulconer and his music composition and production company,
Faulconer Productions Music Corporation (collectively referred to as “Faulconer”’). In early
1999, Funimation’s President, Gen Fukunaga (“Fukunaga”) contacted Faulconer regarding the
creation of music for the network television series and feature films related to the Japanese
cartoon titled “DragonBall Z”. The Defendants’ lies and deception began at the outset when
Fukunaga represented to Faulconer that Funimation was the sole owner of the DragonBall Z
television series and feature films, when in fact Funimation was merely the licensee of

DragonBall Z. The true owner of DragonBall Z is Toei Animation Co. Ltd. (“Toei”) in Japan.

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Unfortunately for Faulconer, this was just the first material misrepresentation in what would
eventually become a one-sided relationship fraught with greed and deception.

3.2 After Defendants deceived Faulconer into believing that it was contracting with
the owner of DragonBall Z, Defendants fraudulently induced Faulconer to give up the rights to
the music Faulconer would create for Funimation in exchange for empty promises of substantial
revenue streams in the future. Instead of fulfilling those promises, Defendants systematically
defrauded Faulconer by actively engaging in fraudulent and tortious conduct to keep Faulconer
from realizing the promised revenue that was generated from the wildly successful cartoon.
While Defendants’ deception, greed, and heavy-handed tactics successfully generated it
hundreds of millions of dollars in revenue from the various media utilizing Faulconer’s award
winning music, the promise of substantial revenue never materialized for Faulconer.

3.3 As aresult of Defendants’ fraud and material breaches of contract, Faulconer filed
suit against Defendants to rescind the contracts entered into between Faulconer and Funimation
and sought damages and injunctive relief for Defendants’ willful infringement of Faulconer’s
Copyrights. Alternatively, Faulconer sought actual, consequential, and exemplary damages as a
consequence of Defendants’ fraudulent and tortious conduct and material breaches of contract.

3.4 In August 2004, the parties mediated this case, and came to an agreement in
principle regarding the resolution of this case. The terms of the Settlement Agreement/Release
Agreement were negotiated and finalized on January 1, 2005. All parties executed the
agreement, but Defendants breached the settlement terms.

IV.
BACKGROUND FACTS
A. Summary of Defendants’ Actions From the Inception of Faulconer and

Defendants’ Business Relationship to Immediately Preceding the Parties’
Settlement Negotiations

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4.1] Bruce Faulconer invests his life’s savings to start his company. Composer
Bruce Faulconer founded Faulconer Productions Music Corporation in 1985 to provide original
music composition and production to the film, television, commercial advertising, corporate
communications and entertainment industries. Starting his company from scratch, Faulconer
built his music production company from the ground up. With long hours and hard work,
Faulconer expanded his client base and rapidly became known in the industry for his

dedication to quality and service.

4.2 In 1998, Faulconer created a world-class music recording and audio post-
production facility, CakeMix Recording, as a part of Faulconer’s music creative business.
Faulconer’s pursuit of excellence led him to commission the studio’s design from the nationally
recognized acoustical architectural firm, Russ Berger Design Group. By the time Faulconer
contracted with Funimation in 1999, he had gained significant industry recognition and had won

over 80 awards for his music.

4.3. Funimation and Faulconer form a business relationship. On February 1,
1999, Fukunaga called Faulconer regarding the possibility of contracting with Faulconer to
provide re-recording, mixing services, sound effects and design and original music
composition for the Japanese anime cartoon DragonBall Z.’ Fukunaga represented to
Faulconer that Funimation was the sole owner of the DragonBall Z work, including the
television series and feature films. Faulconer would much later find out that, in fact,

Funimation did not own DragonBall Z, but merely had license rights to the work. This

 

' DragonBall Z is a 291 episode animated television series that includes three television specials and
thirteen movie features. The English version of the show is derived from the Japanese version, incorporating

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distinction would later be the source of major contention between the parties.

4.4 Fukunaga described the project for DragonBall Z as a contract for an episodic,
long-term television series with related short form movie projects. Fukunaga explained that he
was looking for a composer who was willing to relinquish rights to the music and work at a
reduced fee in exchange for a long-term, high volume amount of business with substantial
revenue streams in the future from royalties based on television syndication. As additional
consideration for relinquishing the rights to the music, Fukunaga specifically indicated that
the composer who was awarded the contract would be offered the opportunity to compose
the music for all of the DragonBall Z movies that Funimation produced and to provide sound
effect sweetening and mixing services for the television series and feature films. Faulconer
was also aware of the potential revenue that could be generated from the sales of DragonBall
Z compact discs.

4.5. Over the course of the next few weeks, Fukunaga and Faulconer continued to
discuss their business arrangement, and on February 22, 1999, Fukunaga awarded the
DragonBall Z contract to Faulconer. The parties negotiated the details of the contract for
the next week and on March 1, 1999, Faulconer and Funimation entered into a series of
contemporaneously signed agreements, including: (1) a Certificate of Authorship (the
“1999 Certificate of Authorship”); (2) an Intellectual Property Rights agreement (the 1999
Intellectual Property Rights Agreement”); (3) a Music Agreement (the “1999 Music
Agreement”); and (4) a Mix Agreement (the “1999 Mix Agreement”) (collectively, the
“1999 Contracts”).

4.6 The 1999 Contracts memorialized the discussions and negotiations that had taken

 

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Japanese created pictures (the visuals) and an English dialogue voice track (translated and recorded by Funimation)
and an American soundtrack created by Faulconer (to date — episodes J68 to J291).

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place between the parties over the past month. Pursuant to the 1999 Contracts, Faulconer
relinquished all rights to the DragonBall Z music, with the exception of 50% of the
performance rights (the composer’s share) that Faulconer retained, and agreed to compose
the DragonBall Z music at a reduced fee. In exchange, and in conformance with the parties
negotiations, Funimation agreed to provide the entire DragonBall Z television series (starting
with an initial contract comprising the first 50 television episodes)’ and all feature films that
were “owned” by Funimation. Faulconer was also awarded the right to provide sound
effect sweetening and mixing services for the television series and feature films (starting
with a similar, 50 television episode contract). Although Faulconer was well aware of the
potential value of the copyrights relinquished to Funimation, Faulconer was convinced that the
deal was economically fair due to the consistent income from a large volume of work
(represented by Fukunaga to be nearly 300 television episodes, three television specials and
13 movie features) and substantial revenue streams from television syndication royalties
and the potential for future DragonBall Z compact disc sales.

4.7 Shortly after the 1999 Contracts were signed, Faulconer and his production
team began work on the DragonBall Z episodes, delivering approximately two episodes
per week. The creation of the music proceeded according to schedule, and Faulconer
received high praise from Defendants and the public regarding the quality of the music.

4.8 Funimation begins to change the deal. Once Defendants induced Faulconer
to sign away the ownership rights to the DragonBall Z music, Defendants from that point
forward had the upper hand in the business relationship. Defendants recognized this

imbalance of power and systematically began to take back the consideration it promised

 

The 1999 Music Agreement provided a schedule for the completion of 50 television episodes beginning
with the 68" episode in the series, J68, and continuing through episode J117.

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Faulconer in exchange for Faulconer’s music rights.

4.9 On December 15, 1999, Fukunaga told Faulconer that Funimation was
considering taking the mix of the episodes “in-house” at Funimation — a right specifically
granted to Faulconer in the 1999 Mix Agreement. On February 1, 2000, Fukunaga informed
Faulconer that Funimation had hired a mixing specialist and equipment to mix the episodes.
Although the issue remained up in the air for the next month, it seemed inevitable that
Funimation would fail to honor the 1999 Mix Agreement.

4.10 Faulconer delivered what would be its last mix for a DragonBall Z episode on
January 7, 2000 — merely 50 episodes into what Defendants represented to be a “long-
term” deal. Despite Defendants’ satisfaction with Faulconer’s high quality mixing work,
Funimation put its profits ahead of its obligations to Faulconer and effectively eliminated the
mixing revenue specifically bargained for and counted on by Faulconer. By taking away the
mixing rights, Funimation eliminated hundreds of thousands of dollars in lost revenue for
Faulconer over the next two years and is yet another clear indication that Defendants never
intended to honor the promises it made to induce Faulconer into entering the 1999
Contracts.

4.11 Funimation kills a potential compact disc deal with Kid Rhino.
Defendants’ greed and heavy-handed dealings next surfaced when Kid Rhino, a Warner
affiliate record label, contacted Funimation regarding marketing Faulconer's DragonBall Z
music. On May 9, 2000, Fukunaga asked Faulconer to attend a meeting with Kid Rhino
executives to discuss a potential deal to produce DragonBall Z compact discs. At the
meeting the next day, Karen Ahmed, the Kid Rhino A. R. R Manager, stated that Kid Rhino
was enthusiastically interested in commissioning a compact disc album of Faulconer’s

DragonBall Z music.

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4.12 Over the next three months, the parties attempted to negotiate (or in
Defendants’ case, failed to negotiate) the details of the project. In conformity with industry
standards, Kid Rhino offered to share in the costs of production with Funimation and agreed to
provide Faulconer a production advance and royalty points on the compact disc sales.
Funimation, however, demanded unreasonable financial terms outside of industry standards
and was unwilling to pay for any production costs. Despite Kid Rhino’s and Faulconer’s
enthusiasm for the project, Fukunaga told Faulconer not to sign any deal with Kid Rhino. By
the end of July, 2000, Defendants had pulled the plug on the Kid Rhino deal which resulted in
a significant loss of revenue to Faulconer.

4.13 Funimation eliminates Faulconer’s syndication revenue. Prior to the
signing of the 1999 Contracts, Fukunaga told Faulconer that Funimation was in
negotiations to significantly increase the DragonBall Z syndication revenue. Faulconer
relied heavily on these representations when entering into the 1999 Contracts realizing that
it would greatly benefit from the syndication revenue. Around the time period of the Kid
Rhino negotiations, Faulconer began to inquire into the status of the syndication
negotiations. Immediately before the May 10, 2000, Kid Rhino meeting, Fukunaga
informed Faulconer that Funimation had entered into an exclusive contract with the
Cartoon Network that prohibited DragonBall Z syndication in the United States for the next
four years. Obviously, Funimation had struck a deal with the Cartoon Network that was
more lucrative to Funimation than its share of television syndication royalties.

4.14 Defendants once again had put its profits ahead of its obligations to
Faulconer. Defendants’ actions ultimately cost Faulconer hundreds of thousands of dollars
in lost royalty revenue over the next four years and is yet another clear indication that

Funimation never intended to honor the promises it made to induce Faulconer to enter into

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the 1999 Contracts.

4.15 Funimation and Faulconer finally agree to produce Dragon Ball Z
compact discs. After Funimation killed the Kid Rhino deal, Fukunaga called Faulconer on
August 2, 2000, to inform Faulconer that Funimation was willing to self-publish the
Dragonball Z compact discs with Faulconer. Fukunaga indicated that self-publishing would
allow Funimation to make more money than by partnering with Kid Rhino. Defendants
agreed to allow Faulconer the use of DragonBall Z images in marketing the compact discs
and agreed to help with sales by promoting the compact discs on Funimation’s website.
Defendants further represented that it would help with distribution by facilitating retail
access to Funimation’s favored vendors. Fukunaga desired a Christmas 2000 or Spring
2001 launch for the compact discs with Funimation advertising the compact discs as the
record label owner. Faulconer believed that Defendants were genuinely interested in
making the self-publication concept work. As Faulconer would soon realize, however,
Defendants’excitement stemmed from the expectation of extremely favorable financial

terms at Faulconer’s expense.

4.16 The 1999 Music Agreement expires and Faulconer creates music
without a contract. Faulconer delivered the music and mix for episode J117, the 50" and
last episode of the 1999 Music Agreement, on January 7, 2000. Shortly thereafter, the
parties began negotiating a second contract to cover the remaining DragonBall Z work. On
February 7, 2000, Bruce Faulconer met with Fukunaga, Daniel Cocanougher
(“Cocanougher”), Funimation’s Vice President and Barry Watson (“Watson”), a
Funimation Producer, to discuss the details of the second contract.

4.17 Faulconer files certificates of registration for his DragonBall Z music.

For the next seven months, the parties attempted to reach agreement on the terms for a

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second contract, and Faulconer continued to work on the project without a written contract.
Despite the lack of a written contract, Faulconer continued to provide high quality and
timely music creations at a rate of approximately two episodes per week. Faulconer would
ultimately create the music for episodes J118 to J172 before the parties would execute
another written contract. On September 6, 2000, prior to the execution of a second contract,
Faulconer filed appropriate certificates of registration with the Register of Copyrights for
the music created by Faulconer to episodes J118 to J156.

4.18 Funimation and Faulconer enter into a new Music Agreement. On
September 21, 2000, Funimation and Faulconer entered into a new Music Agreement (the
“2000 Music Agreement”).? The 2000 Music Agreement included a contract for episodes
J118 to J291 and conformed to the 1999 Music Agreement and the parties’ course of
dealing in that Defendants continued to represent that Faulconer remained entitled to
compose the music for the entire television series and all of the DragonBall Z feature

films pursuant to future contracts.

4.19 The 2000 Music Agreement reduced to writing the compact disc
negotiations on terms favorable to Faulconer.* With these favorable terms, Faulconer
knew that if the parties proceeded to a Christmas 2000 or Spring 2001 launch of the

compact discs as previously planned, Faulconer would realize significant income from the

 

3 Although the 2000 Music Agreement was executed on September 21, 2000, the contract reflected an
effective date of February 1, 2000, so that the music created by Faulconer after the expiration of the 1999 Music
Agreement would be included in the contract. Funimation was aware that Faulconer had registered the copyrights to
t4e music for the episodes that Faulconer created after the expiration of 1999 Music Agreement, and Funimation
wanted to protect their interests in this music_ Faulconer was willing to relinquish the rights to the music in exchange

for the favorable terms of the 2000 Music Agreement, in particular, the terms upon which Faulconer could create and
sell compact discs.

“ The terms provided that the parties would split any profits or royalties received by Funimation for
Funimation’s compact disc sales, and Faulconer would keep all of the profits or royalties received by Faulconer’s
sales.

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sales due to the popularity of the DragonBall Z series and Faulconer’s music.
Unfortunately for Faulconer, Defendants’ representations regarding the compact disc deal
would once again turn out to be empty promises made to induce Faulconer to continue
creating award winning music at little cost to Funimation.

4.20 Faulconer creates DragonBall Z soundtracks to be released. Over the next
two months, Faulconer worked diligently on the compact disc project, and by November, 2000,
Faulconer had two compact disc soundtracks ready for release. During this same period of
time, the parties worked closely to collaborate on advertising ideas and the use of
DragonBall Z art images for the cover and inside pamphlet of the compact discs.
Specifically, on December 11, 2000, Watson called Faulconer to inform him that Funimation
had finished a 60 second commercial promoting the release of Faulconer’s first DragonBall
Z compact disc, “Trunks Compendium I,” that would be placed at the beginning of
upcoming Funimation video releases. On December 21, 2000, Watson emailed Faulconer a
proposed character image for the Trunks Compendium I compact disc, and on December26,
2000, Watson emailed Faulconer the promotional voice script for the Trunks compact disc
that would be on the videotape advertisement promotions.

4.21 Funimation stalls the compact disc project and discloses that it is not the
sole owner of DragonBall Z. Just when everything seemed to be going according to
schedule, Defendants inexplicably started to delay the release of the compact discs. By the
beginning of February 2001, Funimation had still not delivered to Faulconer the final
images to be used with the Trunks Compendium I compact disc, and Defendants started to
give Faulconer the “run around” whenever pressed on the matter. Finally, Fukunaga told
Faulconer to talk to Dave Moran (“Moran”), Funimation’s Marketing Executive, and on

February 13, 2001, Moran told Faulconer that Funimation was willing to give Faulconer ten

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percent of the compact disc revenue in exchange for Faulconer’s use of the DragonBall Z
images.

4.22 Considering the fact that just months prior, the parties had painstakingly
negotiated the details of the compact disc deal which was memorialized in the 2000 Music
Agreement, Faulconer was dumbfounded by Funimation’s offer of ten percent. Faulconer
pressed for some explanation, and all he was told was that ten percent was Funimation’s best
offer because of the costs involved in creating and marketing the compact discs. Finally, on
February 27, 2001, Moran told Faulconer that the “real reason” for the high costs to
Funimation was that Toei Animation, Ltd. and/or FUGI Music (“Toei”) owned the rights
to the DragonBall Z music, and Funimation and Faulconer would have to pay royalties to

Toei.

4.23 From the beginning of the parties relationship, Funimation represented to
Faulconer that Funimation was the sole owner of the DragonBall Z television series and
feature films. The parties contemplated the production of compact discs early on in the
relationship, and Faulconer’s right to produce compact discs was one of the cornerstones of
the negotiations leading to the signing of the 2000 Music Agreement. Now, for the first
time, Funimation implied to Faulconer that another company owned the music rights to
DragonBall Z. In fact, Faulconer would learn much later on that Funimation owned nothing
but the license rights to DragonBall Z — not even close to the representation that it was the
sole owner.

4.24 Defendants deliberately deceived Faulconer into believing Funimation was
the sole owner of DragonBall Z so that Faulconer would believe Funimation had the
authority to grant Faulconer various DragonBall Z rights, including the right to create

compact discs without the need to get approval or share profits with any company other

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than Funimation. This deception went to the core of the dealing between the parties and is
consistent with the manner in which Defendants approached every business deal with
Faulconer.

4.25 Funimation demands that Faulconer agree to substantially alter the financial
terms of the compact disc agreement. Funimation’s heavy-handed negotiating and dishonest
tactics became apparent in March 2001. On March 13, 2001, Moran informed Faulconer that
Funimation would not be sending Faulconer the final DragonBall Z images. A week later, on
March 21, 2000, Stephanie Giotes (“Giotes”), Funimation’s General Counsel, told Faulconer
that he was not important to Funimation and that the compact disc project was not important
in the grand perspective of Funimation’s relationship with Toei. Faulconer would later
discover that Funimation was attempting to secure additional license rights to other Toei
programs, and Funimation did not want to do anything to jeopardize those lucrative deals.
Therefore, Defendants insisted that Faulconer enter into an amendment to the 2000 Music

Agreement.

4.26 On March 26, 2001, Giotes emailed Faulconer a proposed Amendment One
to the 2000 Music Agreement (“Amendment One”). Amendment One proposed a
substantial change to the financial arrangement regarding profit sharing from the sales of
compact discs without any additional consideration from Funimation.> Amendment One was
completely unacceptable to Faulconer which had specifically bargained for the ability to
keep all of the profits generated from Faulconer’s own sales. On April 18, 2001, Faulconer

sent Giotes a letter protesting Amendment One and requested that the final images be sent

 

° Under the 2000 Music Agreement, Funimation is not entitled to any profits or royalties as a result of
Faulconer’s compact disc sales. This was significant to Faulconer when agreeing to the terms of the 2000 Music
Agreement. Under the Amendment, Funimation would have been entitled to half of the profits or royalties

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pursuant to the parties prior discussions.

4.27 Giotes called Faulconer the next day to discuss Faulconer’s letter. She
reiterated Funimation’s position that Toei was due royalties which would be deducted out
of Faulconer’s compact disc revenue. Giotes again stated that Faulconer was insignificant
to Funimation in that Faulconer represented only one percent of Funimation’s overall
business dealings. Finally, Giotes threatened Faulconer that if he did not sign Amendment
One, no distributor would touch Faulconer’s compact discs because Funimation would
withhold their blessing.

4.28 Faulconer was appalled by Giotes’ unprofessional and unethical behavior
which he felt amounted to extortion. Faulconer had an agreement specifically granting
Faulconer the ability to sell compact discs with the use of the DragonBall Z images. During the
Kid Rhino negotiations and throughout the self-publication negotiations, the DragonBall Z
images had always been an intricate part of the process, and at no time had anyone ever
mentioned Toei royalties or that there was the possibility the images could not be used by
Kid Rhino or Faulconer. With their threats and words of intimidation, Giotes and Funimation
had once again stepped over the ethical lines of doing business. Faulconer never executed
Amendment One and was forced to produce the compact discs on its own without
Funimation and without the use of the DragonBall Z images.

4.29 Funimation fails to honor the 2000 Music Agreement schedule. A
regular and predictable schedule was an essential part of the 1999 and 2000 Music
Agreements, and it was critical to the planning and management of Faulconer’s

overhead. To meet the scheduling and creative demands of the DragonBall Z series

 

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generated by Faulconer’s sales (option a), or Faulconer would have to give up approximately 88% of Faulconer’s
existing revenue opportunities relating to compact disc sales (option b).

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required Faulconer to maintain a highly trained staff and limited its availability to work on
other creative commitments outside of DragonBall Z. The average market value for the
type of music Faulconer created for DragonBall Z was approximately $1000 per minute of
music, or $22,000 per episode. Faulconer understood that it was creating the music for the
DragonBall Z project at an extreme discount. Faulconer was willing to work at this
discount, however, so long as it secured a large volume of work to be delivered at a
consistent rate. Faulconer accomplished this by obtaining the rights to the entire
DragonBall Z series at a rate of approximately two episodes per week.

4.30 The 2000 Music Agreement provided that Faulconer would deliver
approximately two episodes per week except that Faulconer would be required to deliver three
episodes per week during the months of August, September and October 2000. For the most
part, the parties proceeded along a schedule consistent with the 2000 Music Agreement.
In late December 2000, however, Funimation started to deliver approximately one show
per week. On many occasions over the next six months, Faulconer asked Defendants why
the episodes were not being provided to it according to the agreed schedule and the parties’
course of dealing. Funimation informed Faulconer that it was concentrating on other higher
priority projects that were preventing Funimation from concentrating on DragonBall Z.
Finally, on July 31, 2001, Watson informed Faulconer that Funimation’s commitments to its
other shows had lessened. Nevertheless, Funimation would only deliver one episode per
week. Despite the fact that Faulconer had never delivered an episode behind schedule and
was always able to meet Funimation’s needs, Funimation made a calculated decision to cut back

on the delivery of the episodes at Faulconer’s expense.°

 

° In fact, on December 21, 2000, at 7:17 p.m., Watson called Faulconer and requested that an extra episode
(J200) be completed in 24 hours due to a deadline Funimation needed to meet. The Faulconer team rose to the

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4.31 The remaining episodes could have easily been finished by the end of 2001 if
Funimation would have honored the two episodes per week schedule provided for in the 2000
Music Agreement. Funimation, however, decided to string out the delivery of the episodes
fully aware of the fact that such a delay would cost Faulconer a considerable amount of
additional overhead. Because of Funimation’s delay, Faulconer was prevented from
completing the last DragonBall Z episode of the 2000 Music Agreement (J291) until

October 28, 2002.

4.32 Faulconer produces and distributes the compact discs without Funimation.
After Giotes’ threatened Faulconer and issued an ultimatum to sign the unconscionable
Amendment One, Faulconer had little choice but to salvage what little income he could from
the deal by producing the DragonBall Z compact discs on its own. On June 6, 2001
Faulconer released the first two DragonBall Z compact discs (“Trunks Compendium I” and
“The Best of DragonBall Z Volume 1”) without Funimation’s input or involvement and
without the use of the DragonBall Z images.’

4.33 Funimation tortiously interferes with Faulconer’s ability to sell the
compact discs. Due to the interest for Faulconer’s music in Europe, on August 25, 2001,
Faulconer contacted Tony Allen (“Allen”) with MVM in Chepstow, England regarding
European distribution of Faulconer’s DragonBall Z compact discs. Allen responded very
favorably to doing business with Faulconer, and the parties proceeded to negotiate an
agreement for the sale of thousands of compact discs for European distribution over the

next few months.

 

(... continued)

challenge and completed the episode on late Friday evening, December 22, 2000 — the Friday before Christmas Eve
weekend.

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4.34 On October 31, 2001, however, Allen informed Faulconer via email that
Fukunaga had contacted him and warned him not to do business with Faulconer because
Faulconer was not supposed to be selling DragonBall Z compact discs. Fukunaga’s
statement was directly contrary to the CD agreement. Faulconer called Allen the next day
and tried to convince him that Faulconer did in fact have the right to produce and distribute
DragonBall Z compact discs. Despite Faulconer’s best efforts and Allen’s agreement to
listen to some of Faulconer’s demos, the damage was done.

4.35 The situation became worse after Allen received Faulconer’s demo compact discs.
Allen commented to Faulconer that the compact discs looked “unofficial” because they did
not have any DragonBall Z images or logos on them. Due to Fukunaga’s threats, and the
Defendants’ refusal to allow Faulconer the use of the DragonBall Z images, Allen refused to
negotiate any further with respect to a high volume distribution agreement. After months of
attempting to convince Allen that Faulconer did have the right to distribute DragonBall Z
compact discs. Allen cautiously placed a limited test order.

4.36 In March, 2002, Allen placed a commercial order for each of Faulconer’s
compact discs (“Trunks compendium I,” “The Best of DragonBall Z Volume 1” and “The
Best of DragonBall Z Volume 2”). Prior to Defendants’ interference, Faulconer and Allen
had been contemplating entering into an agreement for the sale of thousands of compact
discs for European distribution. After Fukunaga’s threats, MVM became very cautious in
its approach to Faulconer resulting in hundreds of thousands of dollars in lost revenues to

Faulconer. Faulconer had once again become painfully aware of Defendants’ motto for doing

 

(.. . continued)

” On May 6, 2002, Faulconer filed appropriate certificates of registration with the Register of Copyrights
for the music contained in each compact disc.

* On May 6, 2002, Faulconer filed appropriate certificates of registration with the Register of Copyrights
for the music contained on The Best of DragonBall Z Volume 2.

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business — threaten and attack the little guy from all angles to increase the big company’s
profits.

4.37 Funimation makes baseless claims for royalty payments and threatens to sue
Faulconer and terminate the parties’ agreement. At the same time Fukunaga was threatening
Allen, Giotes opened up a fresh attack on Faulconer. On November 2, 2001, Giotes sent a
letter to Faulconer demanding royalty statements and Funimation’s share of the compact disc
profits. Needless to say, Faulconer was puzzled in light of the parties lengthy negotiations that
resulted in Faulconer’s rejection of Funimation’s proposed Amendment One that would have
required Faulconer to pay profits to Funimation. Nevertheless, Goites continued to demand
royalty payments and threatened Faulconer with a lawsuit and termination of the 2000 Music
Agreement.

4.38 Funimation fails to honor the 1999 and 2000 Music Agreements by awarding
movies to composers other than Faulconer. A major consideration for Faulconer in
relinquishing the rights to the DragonBall Z music was Faulconer’s ability to create the
music for the DragonBall Z feature films. This consideration was memorialized in the 1999
and 2000 Music Agreements and was discussed between the parties at many points during
their relationship. On June 25, 2001, Faulconer was surprised to discover from
Funimation’s website that the first movie that was promised to Faulconer, Movie 4: Lord
Slug (“Movie 4”) had been completed and was scheduled for release on August 7, 2001. The
music for the movie had been offered to the rock bands “Deftones” and “Disturbed” instead
of Faulconer as contemplated in the 1999 and 2000 Music Agreements. Not only was Movie 4
not offered to Faulconer, but it is Faulconer’s belief that it utilized over seven minutes of
Faulconer’s music without proper attribution or royalty payments to Faulconer.

4.39 Faulconer would eventually discover that Lord Slug was not the first film

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awarded to composers other than Faulconer in violation of the 1999 and 2000 Music
Agreements. Funimation had created two television specials and another movie, Movie 5:
Cooler's Revenge (“Movie 5”), without Faulconer. Instead of complaining, Faulconer
strived to convince Defendants that the movies would be better if Funimation used
Faulconer’s original music creations instead of applying pre-existing rock band music to
the movies.

4.40 Funimation awards Movie 6 to Faulconer, and Faulconer begins work on
the project. Faulconer’s perseverance eventually paid off, and on April 4, 2002, the parties
met at Funimation’s offices to discuss Movie 6: The Return of the Cooler (“Movie 6”), as
well as a new television series, DragonBall GT. After detailed discussions regarding the
specific parameters of the project, the parties came to an understanding of how the project
would proceed. On April 8, 2002, Cocanougher called Faulconer to award Movie 6 to
Faulconer. Cocanougher and Faulconer reconfirmed the details for the movie, and
Cocanougher said that Funimation would send a contract to Faulconer memorializing the
parties verbal agreement. Faulconer was very pleased with the recent developments, but

this feeling of satisfaction would not last long.

4.41 Funimation attempts to use the Movie 6 contract to eliminate all of
Faulconer’s existing rights including substantial Internet use royalties. Instead of
sending a contract specifically governing Movie 6, on April 18, 2002, Giotes sent
Faulconer a Work for Hire Music Agreement (“Work for Hire Agreement”) governing the
entire relationship between the parties. The proposed Work for Hire Agreement not only
completely misstated the parameters of Movie 6 that were agreed to by Cocanougher, but it
eliminated significant rights that had been granted to Faulconer in the 1999 Contracts and

2000 Music Agreement.

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4.42 On April 30, 2002, Giotes called Faulconer to pressure him into signing the
Work for Hire Agreement and stated that Funimation was 24 hours away from hiring
someone else. Faulconer explained his reservations with the proposed Work for Hire
Agreement. On May 3, 2002, Cocanougher called Faulconer to inquire into the hold up
with the new agreement, and Faulconer again explained his reservations with the proposed
agreement and that he was waiting on Giotes to correctly memorialize the agreement the
parties had reached at the April 4, 2002, meeting. That same day, Giotes called Faulconer to
inform him that many of the rights that had be eliminated from the Work for Hire Agreement
would be given back to him and that she would forward a new agreement.

4.43 The new agreement, sent to Faulconer on the evening of May 3, 2002,
continued to misstate the parameters of the Movie 6 project and eliminate significant rights
previously granted to Faulconer in agreements that Faulconer believed were still valid and
in existence. Faulconer informed Giotes on May 7, 2002, that he was making some changes
to the new proposal, but Giotes hastily responded with an ultimatum that if Faulconer did
not sign the new agreement by noon on May 9, 2002, she would find someone else for the
project. Faulconer did not understand the pressure that was being applied or why Giotes was
threatening to remove Faulconer from the project. Faulconer was on schedule and making

good progress on Movie 6, and the parties already had existing contracts governing the

movies.

4.44 Faulconer revised the Work for Hire Agreement and sent it to Giotes on May
9, 2002, before Giotes’ imposed deadline. Later that evening, Giotes faxed Faulconer what
would end up being Funimation’s last proposal. This latest version had restored almost all of

the rights the original Work for Hire Agreement eliminated. However, the agreement still

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eliminated Faulconer’s performance rights to every media except television.’ Therefore,
Faulconer's attorney called Giotes on the morning of May 10, 2002, to determine whether
Funimation would revise the agreement so that it was consistent with the parties course of
dealing regarding performance rights. After some discussions, Giotes hung up the phone on
Faulconer’s attorney. Shortly thereafter, Faulconer received a letter from Giotes formally
withdrawing Funimation’s offer regarding Movie 6.

4.45 Faulconer was again completely shocked at Giotes’ lack of professionalism.
Faulconer made a final plea to Giotes by letter dated May 10, 2002, to see if Giotes would
simply correct the performance rights issue. Giotes responded the same day by stating that
Funimation’s position was that the parties never had any kind of agreement for Faulconer to
work on Movie 6. Giotes’ threats and misrepresentations had now turned to plain delusional
fantasies. Considering the fact that Faulconer had been working tirelessly for more than a
month on Movie 6, working closely with the Funimation production staff throughout the
entire process, no one could possibly believe that the parties did not have a deal to
collaborate on Movie 6.

4.46 On May 13, 2002, in a final attempt to salvage the business relationship,
Faulconer sent a letter to Daniel Cocanougher, again explaining that Giotes and
Faulconer were merely in disagreement regarding certain performance rights. Later that

day, Faulconer tried to call Robert Cocanougher, another Vice-President of Funimation, to

 

° During these negotiations, Giotes repeatedly stated that the Work for Hire Agreement did not need to
address performance rights because Funimation was not going to broadcast the movies. Given
Funimation’s past false representations, Faulconer was suspicious of this claim and insisted that Faulconer
continue to have performance rights. Faulconer’s suspicions were once again well founded as the movies “The
Bardock special” and “The History of Trunks” were recently broadcast on the Cartoon Network on
September 5" and 12", 2003, respectively. Additionally, on September 19, 2003, Movie 5 was broadcast on
the Cartoon Network, and on September 26, 2003, Movie 6, the movie Giotes adamantly stated would never
be broadcast, was in fact broadcast on the Cartoon Network. This is yet another example of Funimation’s
calculated deceit and misrepresentations during negotiations with Faulconer.

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discuss the situation, but his father and CEO of Funimation, Alan Cocanougher, answered
the phone. Alan Cocanougher told Faulconer that Funimation “could get lots of composers
to do the job” and despite the fact that Giotes withdrew the offer, Faulconer could still sign
the contract “as is.”

4.47 In what would become the parties last communication regarding Movie 6, on May
15, 2002, Daniel Cocanougher called Faulconer and told him that “there was a mile long line of
composers waiting to do this stuff’ and that “Funimation does contracts and people sign them.”
Cocanougher said Funimation did not want to pay Faulconer for the use of Faulconer’s
music on the internet, so if Faulconer did not sign the Work for Hire Agreement “as is,” the deal
was “dead.” Funimation knew that it had been using Faulconer’s music on its website 24
hours a day, seven days a week, since early 2000 without paying Faulconer royalties which
amounted to hundreds of thousands of dollars.’ Cocanougher’s comments made it clear that
Funimation was using the Movie 6 Work for Hire Agreement to try to trick Faulconer into
relinquishing those royalty rights along with just about everything else Funimation had
granted Faulconer. Given the fact that Funimation had already gutted Faulconer of most of
the revenue opportunities granted to Faulconer in the 1999 Contracts and the 2000 Music
Agreement, Faulconer was not about to relinquish its internet royalty rights without just
compensation.

4.48 Funimation continues to tortiously interfere with Faulconer’s ability to
sell compact discs. Although Defendants continued to avoid their obligations to
Faulconer, they did not stop interfering with Faulconer’s rights to sell compact discs. In

the beginning of June, 2002, Faulconer entered into negotiations with Beckett Magazine

 

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Funimation ceased using Faulconer’s music on the internet when it launched its new website on December

22, 2002.

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(“Beckett”) regarding the sale of Faulconer’s DragonBall Z compact discs. Beckett
responded favorably to advertising and selling Faulconer’s compact discs through its
magazine. On June 7, 2002, Mike Obert of Beckett called Funimation to inquire about
Faulconer’s compact disc rights. Giotes threatened Obert and would not give Beckett
Funimation’s blessing to sell Faulconer’s compact discs.

4.49 On June 14, 2002, Obert called Faulconer to inform him that Beckett’s
owner had surprisingly decided not to sell Faulconer’s compact discs. A couple of months
later, on August 12, 2002, Faulconer and Carolyn Kynard (“Kynard”), Faulconer’s
Marketing Director, contacted Obert to make additional inquiries. Obert told them that
Funimation had threatened Beckett’s publication rights if it sold Faulconer’s compact
discs, and that Beckett would not advertise for Faulconer because it did not want to
antagonize Funimation.

4.50 In December, 2002, Beckett finally decided to carry Faulconer’s compact
discs despite Funimation’s threats. However, it was not until March, 2003, that Beckett
displayed all of Faulconer’s compact discs for sale. Despite the enormous delay caused by
Funimation at a time DragonBall Z was at its peek in popularity on the Cartoon Network,
Faulconer’s compact discs became one of Beckett’s best selling products. Funimation
effectively prevented Faulconer from selling its compact discs through Beckett for almost

nine months causing Faulconer a significant loss in sales.

4.51 Funimation continues to not honor the representations made to
Faulconer. Despite the fact that Funimation promised Faulconer the rights to compose the
music for the entire DragonBall Z series and feature films in exchange for relinquishing his
ownership rights to the music, Funimation continues to use composers other than

Faulconer. To date, Funimation has released Movies 4 - 8 and a number of feature film

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specials without Faulconer’s input. Additionally, Funimation has recently announced that it
will release the first 67 episodes of DragonBall Z.

B. Summary of Defendants’ Actions During the Settlement Negotiations Through
the Breach of the Settlement Agreement

4.52 Defendants do not honor the Settlement Agreement with Faulconer. In
August 2004, the parties attended mediation and reached an agreement in principle on settlement
terms. From August 2004 until December 31, 2004, Faulconer and the Defendants negotiated
the terms of the settlement, which were memorialized in a Compromise and Settlement
Agreement (“Settlement Agreement”) dated January 1, 2005 and signed by all parties that same
day. Among other things, the Settlement Agreement obligated the Defendants to make a lump
sum payment of $125,000 to Faulconer.

4.53 During the negotiations of the settlement documents, Faulconer was advised by
Defendants that Funimation was in the process of finalizing the sale of a significant amount of
stock that would generate a multi-million dollar profit for the Defendants. Shortly after this
discovery, Defendants advised Faulconer that if he had an interest in resolving the case, he must
do so before the Funimation sale was finalized on January 1, 2005. To further induce
Faulconer’s expedient agreement on important settlement terms, Defendants advise Faulconer
that he knows of and will be pleased regarding the identity of the new significant owners of
Funimation. This representation was made to induce Faulconer into closing the settlement so
that Funimation could represent in its stock sale that a major piece of litigation and risk was
resolved — to the profit of Defendants.

4.54 Among the most crucial terms of the Settlement Agreement, Funimation
Productions, Ltd. agreed to enter into a license agreement with Faulconer so that Faulconer could

sell DragonBall Z CDs of the music that was created by Faulconer and synchronized with the

DragonBall Z cartoons. Although the license agreement and settlement payment were

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contingent upon Toei’s approval, Defendants made numerous representations to Faulconer that
Toei’s approval was a mere formality and that Defendants had, for all practical purposes, full
authority to enter into this agreement.

4.55 These representations ultimately proved to be false, as Toei did not approve the
Settlement Agreement and license agreement or it was never presented for their approval.
Defendants knew and believed that Toei would not approve either agreement throughout the
course of the discussions and negotiations with Faulconer; rather, the representations were made
to induce Faulconer to give the appearance of having resolved the lawsuit so that Defendants’
sale of Funimation — and resulting multi-million dollar profits — could be consummated. Or,
again, Toei was never presented the settlement and license agreement for consideration.

4.56 In furtherance of Defendants’ scheme, following the execution of the Settlement
Agreement Defendants tendered to Faulconer a check in the amount of $125,000 while
repeatedly urging it to dismiss the lawsuit so that their sale could be finalized. After Faulconer
refused to dismiss the lawsuit, and after Defendants had nevertheless finalized the sale of the
company, Defendants stopped payment on the settlement check and advised Faulconer that Toei
did not approve either agreement.

Vv.
CLAIMS FOR RELIEF
A. Claims Associated With Defendants’ Actions From the Inception of Faulconer
and Defendants’ Business Relationship to Immediately Preceding the Parties’

Settlement Negotiations

I. First Claim for Relief: Federal Copyright Infringement (17 U.S.C. § 101, et
seq.)

5.1 Faulconer realleges each and every allegation set forth in the preceding

paragraphs of this Second Amended Complaint and incorporates them by reference herein.

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5.2 At all relevant times, Faulconer owned the rights, title and interest in and to
the copyrights to the music for DragonBall Z episodes J118 to J156, and the music
contained on the Faulconer created compact discs Trunks compendium I, The Best of
DragonBall Z Volume 1, The Best of DragonBall Z Volume 2, The Best of DragonBall Z
Volume 3,'' The Best of DragonBall Z Volume 4,'? BUU—The Main Sagas," and Android
18—The Android Sagas“ (collectively, “Faulconer Copyrights”).

5.3. Faulconer has complied in all respects with Title 17 of the United States
Code, secured the exclusive rights and privileges in and to the Faulconer Copyrights, and
in compliance with the law has received from the Register of Copyrights the appropriate
certificates of registration, which constitute prima facie evidence of the validity of the
Faulconer Copyrights and of the facts stated in the certificates.

5.4 After the dates of registration of the Faulconer Copyrights and continuing to
date, Funimation has infringed on the Faulconer Copyrights by importing, manufacturing,
advertising, selling, and/or offering for sale, without Faulconer’s consent, the infringing
products which are copies of or bear a substantial similarity to the Faulconer Copyrights.

5.5 Upon information and belief, said conduct by Funimation was and is willfully
done with knowledge of the Faulconer Copyrights.

5.6 Faulconer has no adequate remedy at law. The said conduct of Funimation

has caused and, if not enjoined, will continue to cause irreparable damage to the rights of

 

"On June 13, 2002, Faulconer filed an appropriate certificate of registration with the Register of
Copyrights for the music contained on The Best of DragonBall Z Volume 3.

"On April 30, 2003, Faulconer filed an appropriate certificate of registration with the Register of
Copyrights for the music contained on The Best of DragonBall Z Volume 4.

Qn April 30, 2003, Faulconer filed an appropriate certificate of registration with the Register of
Copyrights for the music contained on BUU—The Majin Sagas.

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Faulconer in the Faulconer Copyrights.

5.7. As a result of Funimation’s wrongful conduct, Faulconer is entitled to
damages and an injunction restraining Funimation, its officers, agents and employees, and
all persons acting in concert with it, from engaging in further such acts in violation of the
copyrights laws.

II. Second Claim for Relief: Constructive Trust

5.8  Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.9 Upon information and belief, Funimation owns and/or possesses tangible real
and/or personal properties and assets including, but not limited to, bank, savings, and/or other
financial accounts, consisting of and/or obtained by profit derived from Funimation’s
unauthorized manufacture, distribution, and/or sale of products infringing on Faulconer’s
Copyrights.

5.10 Faulconer is entitled to the profits Funimation has derived from the
infringement of Faulconer’s Copyrights under 17 U.S.C. § 504(b).

5.11 Faulconer has no adequate remedy at law and has suffered irreparable harm
and damage as a result of Funimation’s acts as described above. Funimation holds those
tangible real and/or personal properties and assets consisting of and/or obtained by profit
derived from Funimation’s infringing activities as constructive trustees for the benefit of
Faulconer, in an amount thus far not determined.

III. Third Claim for Relief: Fraudulent Inducement

5.61 Faulconer realleges each and every allegation set forth in the preceding

 

(... . continued)
“On April 30, 2003, Faulconer filed an appropriate certificate of registration with the Register of
Copyrights for the music contained on Android 18—The Android Sagas.

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paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.61 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealings between the parties, Funimation made material

representations to Faulconer regarding promises of Funimation’s future performance.

5.14 The representations made to Faulconer were false in that when the promises
were made, Funimation had no intention of performing the promises and made the promises
despite the fact that it knew the promises were false or made them recklessly without any
knowledge of the truth and as a positive assertion.

5.15 When Funimation made the representations, it intended or had reason to
expect that Faulconer would act in reliance on the representations.

5.16 Faulconer detrimentally relied on Funimation’s false representations, and the
false representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

IV. Fourth Claim for Relief: Fraudulent Misrepresentation

5.17 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.18 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealings between the parties, Funimation made material
representations to Faulconer.

5.19 The representations were false in that Funimation made false statements of
fact, false statements of opinion and failed to disclose material facts when it had such a
duty.

5.20 When Funimation made the representations, it knew the representations were

false or made them recklessly without any knowledge of the truth and as a positive

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assertion.

5.21 When Funimation made the representations, it intended or had reason to

expect that Faulconer would act in reliance on the representations.

5.22 Faulconer detrimentally relied on Funimation’s false representations, and the
false representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

V. Fifth Claim for Relief: Negligent Misrepresentation

5.23 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.24 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealings between the parties, Funimation made
representations to Faulconer in the course of Funimation’s business or in a transaction in
which Funimation had an interest.

5.25 Funimation supplied false information for the guidance of others.

5.26 Funimation did not exercise reasonable care or competence in obtaining or
communicating the information.

5.27 Faulconer justifiably relied on Funimation’s representations, and the
negligent representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

VI. Sixth Claim for Relief: Breach of Contract
5.28 Pleading in the alternative, Faulconer realleges each and every allegation set forth

in the preceding paragraphs of this Second Amended Complaint and incorporates them by

reference herein.

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5.29 The 1999 Contracts, the 2000 Music Agreement between Faulconer and
Funimation were valid and enforceable.

5.30  Atall times, Faulconer performed his contractual obligations.

5.31 Funimation’s failure to perform as agreed constitutes material breaches of the
1999 Contracts and the 2000 Music Agreement and has caused, and continues to cause,
Faulconer injury in an amount which is in excess of the minimum jurisdictional limits of this
Court.
VII. Seventh Claim for Relief: Tortious Interference With A Contract

5.32 Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.33 Faulconer entered into an agreement with MVM to sell compact discs. That
agreement was subject to interference by Funimation.

5.34 Funimation willfully and intentionally interfered with the agreement between
Faulconer and MVM.

5.35 Funimation’s interference proximately caused injury to Faulconer in an amount
which is in excess of the minimum jurisdictional limits of this Court.

VIII. Eighth Claim for Relief: Tortious Interference With A Prospective Contract

5.36 Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.37 There was a reasonable probability that Faulconer would have entered into a

business relationship with Beckett.

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5.38 Funimation intentionally interfered with the business relationship between

Faulconer and Beckett.

5.39 Funimation’s conduct was independently tortious, and the interference
proximately caused injury to Faulconer in an amount which is in excess of the minimum
jurisdictional limits of this Court.

IX. Ninth Claim for Relief: Unjust Enrichment

5.40 Further pleading in the alternative, Faulconer realleges each and every
allegation set forth in the preceding paragraphs of this Second Amended Complaint and
incorporates them by reference herein.

5.41 Funimation has retained benefits resulting from their wrongful acts to the
detriment of Faulconer. Thus, in the absence of an express or implied-in-fact contract,
Faulconer is entitled to recover for the unjust enrichment retained by Funimation.

5.42 As aresult of Funimation’s actions referenced herein, Faulconer has suffered
and continues to suffer damages in an amount in excess of the minimum jurisdictional
limits of this court.

X. Tenth Claim for Relief: Conspiracy to Commit Fraud

5.43 Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.44 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealing between the parties, Defendants acted together to commit
fraud.

5.45 Defendants had a meeting of the minds to commit fraud, and that course of action

was ultimately furthered by the acts and/or omissions by Funimation.

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5.46 Defendants’ wrongful acts proximately caused injury to Faulconer in an amount
which is in excess of the minimum jurisdictional limits of this Court.

XI. Eleventh Claim for Relief: Breach of the Duty of Good Faith and Fair Dealing

5.47. Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.48 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealing between the parties, a special relationship between the
parties existed that gave rise to the duty of good faith and fair dealing.

5.49 Defendants made material representations to Faulconer regarding promises of
Funimation’s and Toei’s future performance.

5.50 The representations made to Faulconer were false in that when the promises were
made, Defendants had no intention of performing the promises and made the promises despite
the fact that they knew the promises were false or made them recklessly without any knowledge
of the truth and as a positive assertion.

5.51 When Defendants made the representations, they intended or had reason to expect
that Faulconer would act in reliance on the representations.

5.52 Faulconer detrimentally relied on Defendants false representations, and the false
representations caused injury to Faulconer in an amount which is in excess of the minimum
jurisdictional limits of this Court.

XII. Twelfth Claim for Relief: Negligence
5.53 Further pleading in the alternative, Faulconer realleges each and every allegation

set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them

by reference herein.

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5.54 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealing between the parties, Defendants owed a duty to use
ordinary care in making representations and in ascertaining the accuracy of information given to
Faulconer.

5.55 Defendants breached that duty by making material representations to Faulconer
regarding promises of Funimation’s and Toei’s future performance that were false when made.

5.56 Faulconer detrimentally relied on Defendants false representations, and these false
representations proximately caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

B. In the Alternative, Faulconer Asserts the Following Claims Associated With
Defendants’ Actions Surrounding the Breach of the Settlement Agreement

I. First Alternative Claim for Relief: Fraudulent Inducement
5.57 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference

herein.

5.58 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire settlement negotiations between the parties, Funimation made
material representations to Faulconer regarding promises of Funimation’s future

performance.

5.59 The representations made to Faulconer were false in that when the promises
were made, Funimation had no intention of performing the promises and made the promises
despite the fact that it knew the promises were false or made them recklessly without any
knowledge of the truth and as a positive assertion.

5.60 When Funimation made the representations, it intended or had reason to

expect that Faulconer would act in reliance on the representations.

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5.61 Faulconer detrimentally relied on Funimation’s false representations, and the
false representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

II. Second Alternative Claim for Relief: Fraudulent Misrepresentation

5.62 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.63 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire settlement negotiations between the parties, Funimation made material
representations to Faulconer.

5.64 The representations were false in that Funimation made false statements of
fact, false statements of opinion and failed to disclose material facts when it had such a
duty.

5.65 When Funimation made the representations, it knew the representations were
false or made them recklessly without any knowledge of the truth and as a positive

assertion.

5.66 When Funimation made the representations, it intended or had reason to

expect that Faulconer would act in reliance on the representations.

5.67 Faulconer detrimentally relied on Funimation’s false representations, and the
false representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

III. Third Alternative Claim for Relief: Negligent Misrepresentation
5.68 Faulconer realleges each and every allegation set forth in the preceding

paragraphs of this Second Amended Complaint and incorporates them by reference herein.

5.69 Prior to any contractual relationship between Funimation and Faulconer, and

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throughout the entire settlement negotiations between the parties, Funimation made
representations to Faulconer in the course of Funimation’s business or in a transaction in
which Funimation had an interest.

5.70 Funimation supplied false information for the guidance of others.

5.71 Funimation did not exercise reasonable care or competence in obtaining or
communicating the information.

5.72 Faulconer justifiably relied on Funimation’s representations, and the
negligent representations caused injury to Faulconer in an amount which is in excess of the
minimum jurisdictional limits of this Court.

IV. Fourth Alternative Claim for Relief: Breach of Contract

5.73 Pleading in the alternative, Faulconer realleges each and every allegation set forth
in the preceding paragraphs of this Second Amended Complaint and incorporates them by
reference herein.

5.74 The Settlement Agreement and License Agreement between Faulconer and
Funimation were valid and enforceable.

5.75 At all times, Faulconer performed his contractual obligations.

5.76 Funimation’s failure to perform as agreed constitutes a material breach of the
Settlement Agreement and License Agreement and has caused, and continues to cause, Faulconer
injury in an amount which is in excess of the minimum jurisdictional limits of this Court.

V. Fifth Alternative Claim for Relief: Conspiracy to Commit Fraud
5.77 Further pleading in the alternative, Faulconer realleges each and every allegation

set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them

by reference herein.

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5.78 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire business dealing between the parties, Defendants acted together to commit
fraud.

5.79 Defendants had a meeting of the minds to commit fraud, and that course of action
was ultimately furthered by the acts and/or omissions by Funimation.

5.80 Defendants’ wrongful acts proximately caused injury to Faulconer in an amount
which is in excess of the minimum jurisdictional limits of this Court.

VI. ‘Sixth Alternative Claim for Relief: Breach of the Duty of Good Faith and Fair
Dealing

5.81 Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.82 Prior to any contractual relationship between Funimation and Faulconer, and
throughout the entire settlement negotiations between the parties, a special relationship between
the parties existed that gave rise to the duty of good faith and fair dealing.

5.83 Defendants made material representations to Faulconer regarding promises of
Funimation’s and Toei’s future performance.

5.84 The representations made to Faulconer were false in that when the promises were
made, Defendants had no intention of performing the promises and made the promises despite
the fact that they knew the promises were false or made them recklessly without any knowledge
of the truth and as a positive assertion.

5.85 When Defendants made the representations, they intended or had reason to expect

that Faulconer would act in reliance on the representations.

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5.86 Faulconer detrimentally relied on Defendants false representations, and the false
representations caused injury to Faulconer in an amount which is in excess of the minimum
jurisdictional limits of this Court.

VII. Seventh Alternative Claim for Relief: Intentional Infliction of Emotional Distress

5.87 Further pleading in the alternative, Faulconer realleges each and every allegation
set forth in the preceding paragraphs of this Second Amended Complaint and incorporates them
by reference herein.

5.88 As aresult of Defendants’ intentional or reckless actions referenced herein, Bruce
Faulconer has suffered severe emotional distress.

5.89 Defendants’ extreme and outrageous conduct proximately caused Bruce
Faulconer’s severe emotional distress.

5.90 There is no alternative cause of action that would provide a remedy for the severe
emotional distress caused by the Defendants.

VI.
DAMAGES/RELIEF SOUGHT

6.1 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

6.2 Pursuant to §37.00 et seq. and §38.001 et seq. of the Texas Civil Practice
and Remedies Code and 17 U.S.C. § 101, et seq., Faulconer is entitled to reasonable
attorneys’ fees. Faulconer is further entitled to receive its reasonable expert fees, costs of
court, and pre judgment and post judgment interest at the highest rates allowed by law.

6.3. Faulconer seeks the following in damages as a result of Defendants’
copyright infringement: (i) actual damages in an amount to be determined at trial, together

with Defendants profits derived from their unlawful infringement of Faulconer’s

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Copyrights; or (ii) statutory damages for each act of infringement in an amount provided by
law, as set forth in 17 U.S.C. § 504, at Faulconer’s election before entry of a final judgment.

6.4 Faulconer requests that the Defendants be enjoined from directly or
indirectly infringing on Faulconer’s Copyrights or continue to market, offer, sell, dispose
of, license, lease, transfer, display, advertise, reproduce, develop or manufacture any
works derived or copies from Faulconer’s Copyrights or to participate or assist in any
such activity.

6.5  Faulconer requests that the Defendants be enjoined to return to Faulconer
any originals, copies or duplicates of Faulconer’s Copyrights in Defendants’ possession,
custody or control.

6.6 Faulconer requests that the Defendants be enjoined to recall from all
distributors, wholesalers, jobbers, dealers, retailers, non-Faulconer-licensed customers
and distributors, and all others known to Defendants any originals, copies or duplicates of
any works shown by the evidence to infringe any Faulconer Copyright.

6.7 Faulconer requests that the Defendants be required to account for and pay
over to Faulconer all gains, profits, and advantages derived from Defendants’ acts of
infringement.

6.8 Faulconer requests that all gains, profits, and advantages derived from
Defendants’ act of infringement and other violations of law be deemed to be in
constructive trust for the benefit of Faulconer.

6.9 Faulconer requests that judgment be entered for Faulconer and against
Defendants, for fraud and the trebling of the damages awarded.

6.10 Faulconer requests that the 1999 Contract and 2000 Music Agreement

entered into between Faulconer and Faulconer be rescinded.

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6.11 Faulconer requests that it be awarded actual, consequential, and exemplary
damages as a consequence of Defendants’ intentional, fraudulent, and tortious conduct
surrounding the material breaches of the 1999 Contracts, 2000 Music Agreement, and
Settlement Agreement.

6.12 Faulconer requests that it be awarded its attorney’s fees incurred in the trial
of this matter as well as all contingent interest for all possible appeals pursuant to a cause
of action for attorney’s fees herein.

6.13 Faulconer requests that pre-judgment and post-judgment interest at the
highest lawful rate be assessed on all sums be awarded herein from the date of judgment
until paid.

6.14 That all costs of court be assessed against Defendants.

6.15 That the court grant such other, further, and different relief as the court deems

proper under the circumstances.
VII.
CONDITIONS PRECEDENT

7.1 Faulconer realleges each and every allegation set forth in the preceding
paragraphs of this Second Amended Complaint and incorporates them by reference herein.

7.2 All conditions precedent to the institution of this lawsuit have been
performed, have occurred or have been waived.

Vill.
NO WAIVER OR ELECTION
8.1 Faulconer realleges each and every allegation set forth in the preceding

paragraphs of this Second Amended Complain and incorporates them by reference herein.

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8.2 By filing this lawsuit, Faulconer does not waive or release any rights,
claims, causes of action, or defenses or make any election of remedies which it has or may
have, but expressly reserves such rights, claims, causes of action and defenses.

IX.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Faulconer Productions Music Corporation, prays for
judgment against Defendants as follows:

1. That Defendants each be held to have infringed Faulconer’s Copyrights and
that Faulconer be awarded damages for Defendants’ copyright infringement either: (i)
actual damages in an amount to be determined at trial, together with Defendants profits
derived from their unlawful infringement of Faulconer’s Copyrights; or (ii) statutory
damages for each act of infringement in an amount provided by law, as set forth in 17
U.S.C. § 504, at Faulconer’s election before entry of a final judgment.

2. That Defendants be enjoined from directly or indirectly infringing on
Faulconer’s Copyrights or continue to market, offer, sell, dispose of, license, lease,
transfer, display, advertise, reproduce, develop or manufacture any works derived or
copies from Faulconer’s Copyrights or to participate or assist in any such activity.

3. That Defendants be enjoined to return to Faulconer any originals, copies or
duplicates of Faulconer’s Copyrights in Defendants’ possession, custody or control.

4. That Defendants be enjoined to recall from all distributors, wholesalers,
jobbers, dealers, retailers, non-Faulconer-licensed customers and distributors, and all
others known to Defendants any originals, copies or duplicates of any works shown by
the evidence to infringe any Faulconer Copyright.

5. That Defendant each be required to account for and pay over to Faulconer

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all gains, profits, and advantages derived from Defendants’ acts of infringement.

6. That all gains, profits, and advantages derived from Defendants’ act of
infringement and other violations of law be deemed to be in constructive trust for the
benefit of Faulconer.

7. That judgment be entered for Faulconer and against Defendants for fraud
and for trebling of the damages awarded.

8. That the 1999 Contract and 2000 Music Agreement entered into between
Faulconer and Faulconer be rescinded.

9, That, in the alternative, Faulconer be awarded actual, consequential, and
exemplary damages as a consequence of Defendants’ intentional, fraudulent, and tortious
conduct surrounding the material breaches of the 1999 Contracts, 2000 Music Agreement,
and Settlement Agreement.

10. That Faulconer be awarded its attorney’s fees incurred in the trial of this
matter as well as all contingent interest for all possible appeals pursuant to a cause of
action for attorneys fees herein.

11. That Faulconer pre-judgment and post-judgment interest at the highest
lawful rate be assessed on all sums awarded herein from the date of judgment until paid.

12. That all costs of court be assessed against Defendants.

13. That the court grant such other, further, and different relief as the court

deems proper under the circumstances.

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Respectfully submitted,

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ATTORNEYS FOR PLAINTIFF
FAULCONER PRODUCTIONS
MUSIC CORPORATION

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the | bo Yay of May, 2005, a true and correct
copy of the foregoing document was served on Defendants’ counsel via U.S. Certified Mail,
Return Receipt Requested, as indicated below:

Larry L. Fowler, Jr.

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